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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-104V
                                     Filed: October 16, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
AUDREY HODLE,                 *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Attorneys’ Fees and Costs.
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Lawrence R. Cohan, Anapol, Schwartz, et al., Philadelphia, PA, for petitioner.
Glenn A. MacLeod, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On February 7, 2013, Audrey Hodle (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged
that as a result of receiving a Tetanus-diptheria-acellular-pertussis (“Tdap”) vaccine on or about
February 16, 2011, she suffered Guillain-Barre Syndrome. Petition at Preamble. On September 11,
2015, the parties filed a stipulation in which they agreed to an award of compensation to petitioner.
On that same day, the undersigned issued a decision adopting the parties’ stipulation for an award.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
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See Decision on J. Stip., docket no. 41, filed Sept. 11, 2015.

        On October 15, 2015, the parties filed a stipulation concerning attorneys’ fees and costs.
Petitioner requests a total award of attorneys’ fees and costs in the amount of $75,000.00. Stip. for
Fees and Costs ¶ 5. Respondent does not object. Id. at ¶ 4. In accordance with General Order #9,
petitioner represents that she did not incur any reimbursable costs in pursuit of this claim. Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
       Lawrence R. Cohan, of Anapol, Schwartz, et al., in the amount of $75,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
